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14

15                          IN THE UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
17                                   SAN FRANCISCO DIVISION
18   In re: CATHODE RAY TUBE (CRT) ANTITRUST ) Case No. 07-5944 SC
     LITIGATION                                             )
19                                                          ) MDL. No. 1917
     This Document Relates to:
20                                                            DECLARATION OF MOLLY M.
     Sharp Electronics Corporation, et al. v. Hitachi, Ltd., DONOVAN IN SUPPORT OF SHARP’S
21   et al. Case No. 13-cv-1173                               ADMINISTRATIVE MOTION TO
                                                              SEAL DOCUMENTS PURSUANT TO
22                                                            CIVIL LOCAL RULES 7-11 AND 79-
                                                              5(d)
23
                                                           [re Panasonic Documents]
24

25

26

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     DECL. OF MOLLY M. DONOVAN                                                      Case No. 07-5944 SC
     I/S/O SHARP’S MOTION TO SEAL                                                        MDL NO. 1917
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     I, Molly M. Donovan, declare as follows:
 1

 2                  1.     I am an attorney with Winston & Strawn LLP, counsel for Defendants

 3   Panasonic Corporation of North America, MT Picture Display Co., Ltd., and Panasonic Corporation

 4   (f/k/a Matsushita Electric Industrial Co., Ltd.) (collectively, the “Panasonic Defendants”) in these
 5
     actions. I am a member of the bar of the State of New York and I am admitted to practice before this
 6
     Court pro hac vice. Except for those matters stated on information and belief, about which I am
 7
     informed and which I believe to be true, I have personal knowledge of the facts stated herein and, if
 8
     called as a witness, I could and would competently testify thereto.
 9

10                  2.     On June 18, 2008, the Court approved a “Stipulated Protective Order” in this

11   matter (Dkt. 306). On July 26, 2013, Sharp filed an Administrative Motion to Seal (Dkt. 1834), and
12   lodged conditionally under seal, the following documents pursuant to Civil Local Rules 7-11 and 79-
13
     5(d):
14
                    (a) Plaintiffs Sharp Electronics Corporation and Sharp Electronics Manufacturing
15
     Company of America, Inc.’s (together, “Sharp”) Opposition to Thomson S.A.’s Motion to Dismiss
16

17   for Lack of Personal Jurisdiction (Dkt. No. 1835) (“Opposition Brief”) that contains information

18   from documents that the Panasonic Defendants have designated “Highly Confidential;”

19                  (b) Exhibit F to the Declaration of Craig A. Benson in Support of Sharp’s Opposition
20   Brief (“Benson Declaration”) that contains information from documents that the Panasonic
21
     Defendants have designated “Confidential;”
22
                    (c) Exhibit G to the Benson Declaration that contains information from documents
23
     that the Panasonic Defendants have designated “Confidential;”
24

25                  (d) Exhibit K to the Benson Declaration that contains information from documents

26   that the Panasonic Defendants have designated “Highly Confidential;”

27

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     DECL. OF MOLLY M. DONOVAN                                                         Case No. 07-5944 SC
     I/S/O SHARP’S MOTION TO SEAL                                                           MDL NO. 1917
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                    (e) Exhibit O to the Benson Declaration that contains information from documents
 1

 2   that the Panasonic Defendants have designated “Highly Confidential;” and

 3                  (f) Exhibit UU to the Benson Declaration that contains information from documents

 4   that the Panasonic Defendants have designated “Highly Confidential.”
 5
                    3.      Pursuant to Civil Local Rule 79-5(d), I make this declaration on behalf of the
 6
     Panasonic Defendants to provide the basis for the Court to maintain under seal certain documents
 7
     and information submitted to the Court in connection with Sharp’s Opposition Brief that have been
 8
     designated by the Panasonic Defendants as “Highly Confidential” pursuant to the Stipulated
 9

10   Protective Order. The Panasonic Defendants do not object to the filing of Exhibits F and G to the

11   Benson Declaration, as well as any portion of the Opposition Brief purporting to discuss or
12   summarize Exhibits F and G to the Benson Declaration in the public record.
13
                    4.      Attached as Exhibit K to the Benson Declaration is an original document and
14
     its certified English translation produced by the Panasonic Defendants bearing the Bates numbers
15
     MTPD-0576483 and MTPD-0576483E.
16

17                  5.      Upon information and belief, the document appearing in full in Exhibit K to

18   the Benson Declaration consists of, cites to, and/or identifies confidential, nonpublic, proprietary and

19   highly sensitive business information. The document contains, cites, and/or identifies confidential
20   information about the Panasonic Defendants’ market analysis, business practices, and competitive
21
     position.   The document describes relationships with companies that remain important to the
22
     Panasonic Defendants’ competitive position.       I am informed and believe that this is sensitive
23
     information and public disclosure of this information presents a risk of undermining the Panasonic
24

25   Defendants’ business relationships, would cause it harm with respect to its competitors and

26   customers, and would put the Panasonic Defendants at a competitive disadvantage.

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     DECL. OF MOLLY M. DONOVAN                                                            Case No. 07-5944 SC
     I/S/O SHARP’S MOTION TO SEAL                                                              MDL NO. 1917
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                    6.      Attached as Exhibit O to the Benson Declaration is an original document and
 1

 2   its certified English translation produced by the Panasonic Defendants bearing the Bates numbers

 3   MTPD-0426066 to MTPD-0426067 and MTPD-0426066E to MTPD-0426067E.

 4                  7.      Upon information and belief, the document appearing in full in Exhibit O to
 5
     the Benson Declaration consists of, cites to, and/or identifies confidential, nonpublic, proprietary and
 6
     highly sensitive business information. The document contains, cites, and/or identifies confidential
 7
     information about the Panasonic Defendants’ market analysis, business planning, internal practices,
 8
     and competitive position. I am informed and believe that this is sensitive information and public
 9

10   disclosure of this information presents a risk of undermining the Panasonic Defendants’ business

11   relationships, would cause it harm with respect to its competitors and customers, and would put the
12   Panasonic Defendants at a competitive disadvantage.
13
                    8.      Attached as Exhibit UU to the Benson Declaration is an original document
14
     produced by the Panasonic Defendants bearing the Bates numbers MTPD-0013835 to MTPD-
15
     0013836.
16

17                  9.      Upon information and belief, the document appearing in full in Exhibit UU to

18   the Benson Declaration consists of, cites to, and/or identifies confidential, nonpublic, proprietary and

19   highly sensitive business information. The document contains, cites, and/or identifies confidential
20   information about the Panasonic Defendants’ business partnerships and competitive position. This
21
     document describes relationships with companies that remain important to the Panasonic
22
     Defendants’ competitive position. I am informed and believe that this is sensitive information and
23
     public disclosure of this information presents a risk of undermining the Panasonic Defendants’
24

25   business relationships, would cause it harm with respect to its competitors and customers, and would

26   put the Panasonic Defendants at a competitive disadvantage.

27

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     DECL. OF MOLLY M. DONOVAN                                                            Case No. 07-5944 SC
     I/S/O SHARP’S MOTION TO SEAL                                                              MDL NO. 1917
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                    10.     Sharp’s Opposition Brief quotes from or describes documents or information
 1

 2   designated as “Highly Confidential” by the Panasonic Defendants pursuant to the Stipulated

 3   Protective Order, including but not limited to Exhibits K, O and UU.          As with the exhibits

 4   themselves, I understand that the Panasonic Defendants consider any statements in the Opposition
 5
     Brief purporting to summarize the exhibits or any other documents or information designated
 6
     “Highly Confidential” by the Panasonic Defendants confidential and proprietary. I am informed and
 7
     believe that the Panasonic Defendants have taken reasonable steps to preserve the confidentiality of
 8
     information of the type contained, identified, or cited to in Exhibits K, O, and UU to the Benson
 9

10   Declaration and referenced in the Opposition Brief.

11          I declare under penalty of perjury under the laws of the United States of America that the
12   foregoing is true and correct.
13
     DATED: August 13, 2013                      By:    /s/ Molly M. Donovan
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     DECL. OF MOLLY M. DONOVAN                                                         Case No. 07-5944 SC
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 7                                      Attorneys for Defendants Panasonic Corporation of
                                        North America, MT Picture Display Co., Ltd., and
 8                                      Panasonic Corporation (f/k/a Matsushita Electric
                                        Industrial Co., Ltd.)
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     DECL. OF MOLLY M. DONOVAN                                             Case No. 07-5944 SC
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